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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                                                 Case No.: 16-20897-CR-SEITZ

   UNITED STATES OF AMERICA

                       v.

   PRINCESS CRUISE LINES, LTD.,

                     Defendant.
   ________________________________/

             QUARTERLY REPORT OF THE COURT APPOINTED MONITOR (DECEMBER 2018)

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   I.     INTRODUCTION

          Pursuant to the Court’s Order of April 26, 2018, Dkt. No. 66, the Court Appointed

   Monitor (“CAM”) submits this second quarterly report for ECP Year Two (“CAM December

   2018 Quarterly Report” or “Report”). 1

          A.      Overview of CAM Quarterly Report

          The Court ordered that the CAM submit Quarterly Reports to provide updates on the

   monitorship and to address issues identified by the Court and the CAM. See CAM September

   2018 Quarterly Report at 1. This Report focuses on events and developments occurring during

   the period from August 19, 2018 through November 18, 2018. However, certain notable

   developments occurring after November 18, 2018 are included in the discussions below, as

   appropriate.

          Part II of this Report provides an overview of the CAM Team’s activities during the

   second quarter of ECP Year Two, as well as an overview of the CAM’s oversight of the Third

   Party Auditor (“TPA”) and of the Company’s audit function conducted by its Risk Advisory and

   Assurance Services (“RAAS”) department. Part III of this Report provides updates on the

   Company’s capabilities to meet ECP objectives, the Company’s efforts with respect to ECP

   compliance, and other areas of focus.

          B.      Areas of Focus

          The CAM has continued to gather information with respect to the areas of focus

   identified in the CAM First Annual Report and the prior Quarterly Report. See CAM First



   1
     Any terms not defined in this Report take the definitions provided in the ECP, the Joint
   Glossary of Terms, Dkt. No. 58-1, the First Annual Report of the Court Appointed Monitor
   (2017-2018) (“CAM First Annual Report”), or the Quarterly Report of the Court Appointed
   Monitor (September 2018) (“CAM September 2018 Quarterly Report”).


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   Annual Report at 68-74; September 2018 Quarterly Report at 2-6. This Report focuses on

   providing updates for those areas of interest in which significant developments occurred during

   the covered time period. This Report does not provide the more detailed assessments or findings

   regarding the Company’s performance in the areas of focus that the CAM expects to provide in

   the Annual Report for ECP Year Two. See id. at 1-2.

   II.    CAM METHODOLOGY AND ACTIVITIES

          A.      CAM Team Activities during the Second Quarter of ECP Year Two

          Pursuant to the Court’s Order of July 13, 2018, Dkt. No. 75, and the Court’s observation

   at the July 11, 2018 Status Conference that certain Company vessel visit programs had “tainted”

   TPA audits from ECP Year One, see Status Conf. Tr. at 11 (July 11, 2018), 2 the CAM Team and

   the TPA continue to conduct additional vessel and shoreside facility visits and audits. 3 The

   additional shoreside facility visits are consistent with the Court’s direction to examine the

   Company’s strategic planning process, including “how environmental compliance has been made

   part of those [strategic] plans and how protection of the environment is being incorporated as a

   priority into the companies’ strategic plans and culture in a long-term, sustainable manner.” Dkt.

   No. 75 at 3; see also CAM September 2018 Quarterly Report at 6-8 and Attachment 1

   (describing the CAM Team’s ECP Year Two methodology).

          In compliance with the Court’s direction, the CAM Team conducted the following visits

   during the period covered by this Report (August 19, 2018 through November 18, 2018):




   2
    As discussed below in Part III.J, the CAM Team is finalizing its analysis of the documents
   produced by the Company related to these vessel visit programs, as requested by the U.S.
   Department of Justice (“DOJ”) and required by the Court’s Order of July 13, 2018.
   3
    The CAM Team and the TPA are also continuing to conduct the vessel and shoreside facility
   visits and audits anticipated by the CAM Second Annual Work Plan and the ECP.


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            •   Five vessel visits, 4 including:

                    o One CAM Team-only visit; 5

                    o Two TPA ride-along visits; 6

                    o One RAAS ride-along visit; 7 and

                    o One visit, jointly with the TPA, in response to an incident notice. 8

            •   Four shoreside facility visits, including:

                    o Three CAM Team-led visits focused on issues related to strategic planning
                      and budgets, as discussed below in Part III.I. These visits were conducted
                      with AlixPartners, the CAM’s forensic accounting consultant, and a TPA
                      representative; 9 and

                    o One visit during which the CAM Team monitored a TPA audit. 10

            Outside of vessel and shoreside facility visits, the CAM Team has continued to work with

   the Company on the environmental compliance culture survey, attend various Company

   meetings, conferences, and events, and conduct additional formal and informal interviews and

   communications with Company personnel, as discussed below. The CAM Team is in regular



   4
     In addition to these visits, the CAM Team piloted the environmental compliance culture survey
   instrument and translations on three vessels. See infra, Part III.F.
   5
       This visit was on the Holland America Line Westerdam, from November 7-10, 2018.
   6
     These visits were on the Holland America Line Zuiderdam, from September 23-28, 2018, and
   the Carnival Cruise Line Carnival Horizon, from November 3-7, 2018.
   7
       This visit was on the Princess Cruises Sapphire Princess, from October 21-25, 2018.
   8
     This visit was on the Holland America Line Westerdam on October 5, 2018, in response to
   allegations of recordkeeping falsification reported to the CAM by the Company. See infra, Part
   III.A.1.i.
   9
    These visits were to: Carnival Corp.’s headquarters in Miami, Florida, on September 24, 2018;
   Carnival UK’s shoreside offices in Southampton, UK, from October 29-November 1, 2018; and
   Carnival Cruise Line’s shoreside offices in Miami, Florida, from November 12-16, 2018.
   10
     This visit was to Carnival UK’s shoreside offices in Southampton, UK, from August 28-31,
   2018.


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   communication with the Company, the TPA, and the Interested Parties, and continues to perform

   ongoing review of documents produced by the Company in relation to the work streams

   identified in the CAM Second Annual Work Plan and in response to information requests by

   DOJ.

             On October 14, 2018, the CAM met with the HESS Committee of Carnival Corp.’s

   Board of Directors in Los Angeles, California. The Committee noted that environmental

   compliance is discussed at each of its Board meetings and in other HESS Committee

   communications throughout each year. The Committee expressed confidence in the efforts of

   the Company’s Chief Maritime Officer and Corporate Compliance Manager (“CCM”). The

   Committee stated that it found the CAM’s First Annual Report fair and useful. The Committee

   also stated that it would plan to meet with the CAM again in the future.

             B.       TPA Audit Activities

             During the second quarter of ECP Year Two, the TPA conducted twelve 11 vessel audits

   (including two on which the CAM Team “rode-along”), 12 two shoreside office audits (including

   one during which the CAM Team was in attendance), and one shoreside audit of CSMART

   training courses. 13 The CAM continues to communicate regularly with the TPA, review TPA

   audit reports, and evaluate the adequacy and independence of the TPA.




   11
     This includes one vessel audit that began on November 18, 2018 and ended on November 22,
   2018.
   12
     In addition, as noted above, the TPA visited the Holland America Line Westerdam with the
   CAM on October 5, 2018, in response to allegations of recordkeeping falsification reported to
   the CAM by the Company. See infra, Part III.A.1.i.
   13
        See infra, Part III.H.2.ii.


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          In addition, on October 11, 2018, the CAM Team hosted a meeting at its Washington,

   DC offices with twelve members of the TPA team. Among other items, the parties discussed

   lessons learned, as well as goals and areas of focus for ECP Year Two.

          The CAM’s oversight of the TPA during the first two quarters of ECP Year Two has

   affirmed the CAM’s assessment that the TPA acts with independence and performs adequate

   ECP-required audits.

          C.      RAAS Audit Activities

          During the second quarter of ECP Year Two, RAAS conducted twenty 14 vessel audits on

   Covered Vessels (including one on which the CAM Team “rode-along”). The CAM Team’s

   observations of RAAS during its ride-along visit were consistent with those in the CAM First

   Annual Report. See CAM First Annual Report at 63-67.

   III.    UPDATES ON COMPANY CAPABILITIES TO MEET ECP OBJECTIVES AND ECP YEAR
           TWO AREAS OF FOCUS

          A.      Environmental Incidents

          As in ECP Year One and the first quarter of ECP Year Two, the Company continues to

   have environmental violations and ECP compliance challenges, even while significant efforts

   aimed at compliance are underway. These include repeated instances of prohibited discharges

   and recordkeeping problems—including an incident involving what appears to have been an

   intentional falsification of internal Company records, discussed below in Part III.A.1.i.

          As noted above, employees on ships and on shore are undertaking a wide range of efforts

   with the goal of preventing or reducing environmental incidents, described below in Part III.A.2.

   The CAM Team has also noted an uptick in the Company’s self-reporting of incidents during the


   14
     This includes one vessel audit that began on November 18, 2018 and ended on November 24,
   2018.


                                                    5
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   second quarter of ECP Year Two. Some Company executives have expressed frustration to the

   CAM at the increased numbers of incident reports and a desire to drive down the numbers of

   reports. Some of these same individuals also recognized that increased reporting can also be

   viewed as a positive development, as it may not mean that there is an uptick in violations, but

   rather an increase in the willingness of employees to report incidents. 15 What remains to be seen

   is how this reporting will be utilized and communicated within the Company.

                  1.       Significant Incidents

                         i.   Alleged Record Falsification on the Holland America Line Westerdam

          On October 2, 2018, the CCM notified the CAM that a Second Engineer onboard the

   Holland America Line Westerdam was suspected of creating false entries in the Company’s

   Planned Maintenance System. Specifically, the suspicion was that this individual had made

   entries in the system that certain maintenance tasks had been performed, when they had not. The

   CAM notes that the CCM promptly provided this information to the CAM even before all facts

   were known, followed by an open flow of information from the CCM as well as the Captain and

   crew of the Westerdam itself. Indeed, it was the diligence of the Chief Engineer of the

   Westerdam that led to the identification of these issues. The Chief Engineer noted anomalies in

   maintenance records, which indicated that certain maintenance tasks marked as completed in the

   Planned Maintenance System had not actually been completed. The Chief Engineer promptly

   reported his concerns to the Captain, who in turn elevated the issue to Holland America Group’s

   shoreside office. See Employee Interview Notes. The suspect entries concerned three



   15
     For example, as noted in prior CAM reports, part of the problem on the Caribbean Princess,
   and other ships, that led to the criminal violations in this case was a lack of internal reporting,
   and a failure to speak up that went on for years. See CAM First Annual Report at 9; CAM
   September 2018 Quarterly Report at 11 and n.8.


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   maintenance tasks, all of which relate to oily bilge water management: (1) cleaning a screen

   filter inside the White Box; 16 (2) inspecting and cleaning a bilge holding tank; and (3) testing

   bilge well level alarms. See Email from C. Donald, Investigation – Westerdam (Oct. 2, 2018);

   Employee Interview Notes.

          The Company launched a RAAS investigation into the incident, with support from the

   Ship Superintendent. 17 On October 3, 2018, the Company provided the CAM with a preliminary

   summary of the initial RAAS findings. See Email from C. Donald, FW: Westerdam summary so

   far (Oct. 4, 2018). The CAM is awaiting the final RAAS investigation report. 18

          On October 5, 2018, after consulting with the CCM, a member of the CAM Team and

   two members of the TPA team (“the Team”) traveled to Kodiak, Alaska and met with officers



   16
     The White Box (also known as the Bilge Control Discharge Box or BCDB) is a locked metal
   cage located between the Oily Water Separator and the overboard discharge valve. The White
   Box contains an Oil Content Monitor and serves as the final check on the oil content of bilge
   water before such water can be lawfully discharged overboard.
   17
      As discussed in prior CAM reports, the Company is in the process of revising its approach to
   internal investigations. See CAM First Annual Report at 23, 33-40; CAM September 2018
   Quarterly Report at 23-25. This approach appears to be on hold as the Company conducts a
   search for someone to lead the new investigation group. See infra, Part III.G. One point to
   consider—which is not intended to reflect on those individuals involved in the Westerdam
   incident investigation, but rather is intended as a general consideration in approaching internal
   investigations—is whether an individual with oversight responsibility for compliance on a ship
   (such as the Ship Superintendent with responsibility for the Westerdam) should be a part of the
   investigative team, as was the case here.
   18
      On October 5, 2018, the Company also provided the CAM with related documentation and
   information, including: handover notes for the Chief Engineer, Staff Chief Engineer, and Second
   Engineer; statements from the Captain, Chief Engineer, and Second Engineer;
   procedures/instructions for tasks associated with the entries at issue (e.g., cleaning the White Box
   filter, inspecting bilge water tanks, and testing bilge well level alarms); the Certificate of
   Competency for the Second Engineer; training records for the Second Engineer; a Work and Rest
   Timesheet for the Second Engineer; and a spreadsheet of Planned Maintenance System entries.
   See Letter from C. Donald, Court Appointed Monitor and Third Party Auditor Communication
   (Oct. 5, 2018); PCL_ECP00073904 - PCL_ECP00074213; Email from R. Firth, Statement 2nd
   Engineer Officer [Name Omitted] (Oct. 5, 2018).


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   and crew on the Westerdam, as well as the RAAS investigation team. While onboard, the Team

   reviewed relevant documents, including the Oil Record Book. As noted above, the ship’s crew

   and officers were cooperative, and worked diligently to provide the Team with access to relevant

   personnel, resources, and records.

          The factors that may have played a role in the events on the Westerdam are similar to

   workplace issues and challenges that the CAM and the TPA have identified on ships across all of

   the operating lines. These include:

          •   Workload and time pressure, such that employees find it difficult to complete all
              required work in the time allotted, and where handovers may not be sufficient;

          •   Insufficient shoreside support, arising from the addition of new duties and
              responsibilities from the shoreside offices without adequate consideration of the
              impact of these duties and responsibilities on existing workloads;

          •   Insufficient manning/staffing, which relates to the workload issue noted above; 19

          •   Inadequate training or qualifications of junior engineers, which can impose burdens
              on more senior engineers who may believe that they cannot readily rely upon the
              junior engineers; and

          •   Lack of a “speak up” culture, such that someone would risk making incorrect entries
              rather than feel comfortable enough to reveal a problem and seek assistance.

   See Employee Interview Notes.




   19
      As noted in prior CAM reports, finding and retaining qualified personnel, especially deck
   officers and engineers, appears to be an industry-wide challenge. At a recent cruise industry
   conference held in the Philippines and attended by Company personnel, attendees expressed
   concern about “the availability of skilled deck officers and engineers, most of who [sic] until
   now were sourced in Europe” because “it is becoming increasingly challenging to recruit
   younger generations of Europeans as seafarers as there are good job opportunities ashore that fit
   in with their lifestyle expectations.” Jonathan Boonzaier, Cruise industry concerned about skills
   shortage, TRADEWINDSNEWS.COM (Nov. 5, 2018),
   https://www.tradewindsnews.com/passengerships/1624041/cruise-industry-concerned-about-
   skills-shortage.


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                        ii.   Improper Discharges on Multiple Holland America Group Ships

          On September 17, 2018, the CCM notified the CAM that Holland America Group had

   “noted an increase in improper discharge incidents” affecting multiple ships operating in various

   locations around the world, including Alaskan waters 20 and other protected U.S. waters such as

   marine parks and marine sanctuaries. See Email from C. Donald, FW: Action Required –

   Improper Discharges (Sept. 17, 2018). According to the Company, the “incidents cross

   Nautical, Technical, Safety and Environment departments, cross brands, cross waste streams, and

   cross itineraries and operating areas . . . And they appear to involve a number of factors

   including attention to detail, verification of location, environmental schedule understanding,

   effective communications, and other errors.” See id. 21 For example, one incident involved the

   discharge of approximately 100 cubic meters of grey water mixed with fresh water inside of

   Glacier Bay National Park in Alaska, 22 while another involved the discharge of exhaust gas



   20
      On November 9, 2018, DOJ requested that the Company provide “a complete list of all
   violations and unpermitted discharges occurring in Alaska since sentencing,” including
   “violations which are being negotiated as well as those that are concluded.” Email from R.
   Udell, Re: Carnival’s Notice and Summary of Proceedings (Nov. 9, 2018). This request applied
   to all operating lines, not just Holland America Group. See id. On December 10, 2018, the
   Company provided a response to DOJ, consisting of a chart of “Alaska Notices of Violation
   Received Since April 19, 2017 Sentencing,” PCL_DOJ_00005764-68, and a letter with
   additional information about the incidents. See Letter from D. Kelley, Re: U.S. v. Princess
   Cruises/State of Alaska Notices of Violation (Dec. 10, 2018). The CAM Team is reviewing this
   response.
   21
     The CAM had previously been made aware of the individual incidents listed in the email via
   Company Flash Reports. The CAM reported six of those incidents—those occurring on Covered
   Vessels and qualifying as Major Non-Conformities under the ECP—to the Interested Parties as
   required by ECP § VI.F.6.
   22
     On November 14, 2018, the Company produced a RAAS investigation report for this incident.
   See RAAS, Investigation Memo No. 66/2018, PCL_ECP00085758. The CAM Team is
   reviewing this report.


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   cleaning system (“EGCS”) washwater into the Stellwagen Bank National Marine Sanctuary in

   Massachusetts. Email from C. Donald, FW: Action Required – Improper Discharges (Sept. 17,

   2018).

            The CCM also notified the CAM that Holland America Group is taking various actions in

   response to these incidents. Shoreside compliance personnel are setting up a series of conference

   calls and ship visits to discuss ways to reduce improper discharges. See id. In addition, Holland

   America Group is working with a third-party consultant “to develop a review program into the

   human factor aspects associated with the challenge of non-compliant waste stream discharges.”

   See Email from C. Donald, MTO Proposal – Human Factors Study (Sept. 22, 2018). Again, it is

   not known whether and to what degree these reports of improper discharges represent an increase

   in incidents or an increase in reporting and transparency. The CAM will continue to monitor

   Holland America Group’s efforts to understand the causes and to reduce the occurrence of

   improper discharges.

                       iii.   Voyage Planning Incidents on Multiple Vessels

            Covered Vessels continue to make numerous prohibited discharges and emissions that

   appear to be related to problems in the development and implementation of voyage plans. 23 See

   CAM First Annual Report at 41; CAM September 2018 Quarterly Report at 14. During ECP

   Year Two to date, the CAM Team has identified over forty reports of incidents attributable to

   voyage planning on Covered Vessels. For example, one incident involved a vessel using its



   23
     A voyage plan identifies, among other things, the locations in the ocean where certain
   discharges or emissions are allowed or prohibited based on a ship’s location and the applicable
   restrictions (such as the special requirements that apply in U.S. marine sanctuary waters and in
   Emission Control Areas). The ship’s route must take into account “the marine environmental
   protection measures that apply, and avoid[], as far as possible, actions and activities which could
   cause damage to the environment.” Joint Glossary of Terms at 10.


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   incinerator for approximately 3.5 hours inside Swedish Territorial Waters—where the use of

   incinerators is prohibited—because this restriction “had not been correctly copied across into the

   appropriate decision support tools [e.g., the Excel-based spreadsheet, known as the “Worldwide

   Cruising Environmental Standards” or the “Matrix,” maintained by the Company that sets forth

   international, national, and local/port environmental standards, organized by geographic region.

   See ENV-1001-F1].” Carnival Corporation & plc HESS Weekly Flash Report (Sept. 12, 2018).

   Another incident involved the prohibited use of an EGCS in Glacier Bay, Alaska because a

   standby engine was configured to run on heavy fuel oil (which has a high sulfur content and

   requires an EGCS to avoid air emissions violations), instead of marine gas oil (which has a lower

   sulfur content and does not require an EGCS). Id. In response, the Company said the shoreside

   technical team “will re-iterate the requirement that the standby engine is configured for [marine

   gas oil] or that the standby sequence start up is disabled to prevent recurrence.” Id. Such

   incidents may reflect broader, more systemic issues about the voyage planning process. These

   issues include the adequacy of the shoreside support and training the Company provides crew

   members involved in monitoring and complying with environmental regulations, and addressing

   workflow from competing demands, as noted above.

          The Company reports that it is currently evaluating potential software solutions that could

   help address voyage planning challenges and “simplify and automate a significant portion of the

   planning process and reduce the risk of errors.” October 2018 USPO Supervision Report,

   Attachment 3, at 1. The CAM will continue to monitor the Company’s efforts to improve its

   voyage planning.




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                  2.     Company Efforts to Prevent or Reduce Environmental Incidents

          In addition to the efforts described above in Part III.A.1, the Company is engaged in

   various initiatives to prevent or reduce environmental incidents. These include:

          •   Continuing to install new Oily Water Separator and White Box equipment on ships
              that is “better at removing oil from bilge water and is more tamper resistant by
              design.” Id. at 3. The Company has set a corporate requirement to complete all
              upgrades and installations by January 31, 2019. Id.

          •   Installing CCTVs to record all oily bilge system equipment in the engine rooms of
              ships. Id. The Company reports that this process is complete.

          •   Making efforts to reduce the volume of bilge water that accumulates in the lowest
              portion of the ships inside the hull. The Company reports that “[v]arious technical
              solutions are being adopted” and that it has “placed a particular focus on the need to
              promptly report and repair leaks to the bilge.” Id. The Company has also published a
              new procedure (DER-2004) to “provide additional instruction regarding bilge water
              minimization” and is developing a newbuild procedure to help address this issue. Id.

          •   Developing and implementing a new compliance tracking tool within Global HESS to
              allow the CCM and Operating Line Compliance Managers (“OLCMs”) to “quickly
              and easily see the status of all environmental compliance actions and other notices
              issued after September 21, 2018.” Id. at 4. The Company reports that this tool is in
              use.

          •   Along with other maritime companies, announcing the foundation of the Clean
              Shipping Alliance 2020 (“Alliance”) on September 27, 2018. Id. at 5. According to
              the Company, the mission of the Alliance is to “educate and promote the use and
              effectiveness of open-loop and closed-loop Exhaust Gas Cleaning Systems in order to
              achieve shared environmental and sustainability initiatives, as well as to support the
              scheduled implementation and effective enforcement of the International Maritime
              Organization’s requirement for a global cap of 0.5% sulfur content in marine fuels
              starting January 1, 2020.” Id. at 5. The Alliance includes at least twenty-five
              maritime companies, collectively representing over two thousand ships. Id.; see also
              MI News Network, Clean Shipping Alliance 2020 Answers 10 Key Questions About
              Scrubbers, MARINEINSIGHT.COM (Oct. 19, 2018),
              https://www.marineinsight.com/shipping-news/clean-shipping-alliance-2020-
              answers-10-key-questions-about-scrubbers/.

          The CAM will continue to monitor these efforts and provide updates as appropriate.




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                  3.      Tracking and Trending of Incident Reports

          The CAM Team continues to track the type and frequency of environmental incidents

   reported through formal and informal reporting mechanisms, including TPA audit findings,

   Company Notices of Violation, Company Environmental Open Reports (i.e., Hotline reports),

   and Company Flash Reports. As part of this tracking, the CAM Team trends both total reported

   incidents and categories of recurrent incidents that the CAM Team has identified, such as

   training issues, non-compliant discharges, and bilge leaks/overflows. See CAM September 2018

   Quarterly Report at 10-14 and Appendix A.

          As noted in prior CAM reports, however, the data—even when trended—do not paint a

   full picture of the effectiveness of the Company’s compliance efforts. Higher numbers of

   incident reports may reflect a greater willingness to report rather than an actual increase in the

   number of incidents, and such a willingness to report is significant, even when the issues

   reported appear to be of a relatively minor nature. With the goal of providing the Court with the

   most useful and salient data, the CAM will address this issue further in the next Annual Report.

          B.      Implementation of ECP Requirements

          During (or just prior to) the time period covered by this Report, the Company submitted

   responses aimed at fulfilling two significant ECP requirements: (1) updating its Environmental

   Management System (“EMS”); and (2) developing corrective actions in response to its Fleet

   Engineering Survey.

                  1.      Updated Environmental Management System

          As discussed in the prior CAM Quarterly Report, the ECP requires the Company to

   submit, along with its response to the TPA Annual Report, an updated EMS to “ensure the EMS




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   incorporates all the elements articulated in Attachment 2” of the ECP. 24 ECP § X.A.2; see also

   CAM September 2018 Quarterly Report at 15-16. Pursuant to this requirement, on August 16,

   2018, the Company submitted a letter to the Interested Parties, the TPA, and the CAM

   summarizing “how Carnival’s EMS addresses the ECP-required elements.” See Letter from C.

   Donald, Carnival Environmental Management System (Aug. 16, 2018), PCL_DOJ_00005675 at

   1 (“EMS Letter”). As explained in the letter, “Carnival’s EMS consists of an approved set of

   policies and procedures, a majority of which are housed within its Global HESS management

   system, that support implementation of its Corporate Health, Environment, Safety, Security, and

   Sustainability Policy.” Id. The EMS Letter includes an appendix listing the Carnival Corp.

   EMS-related policies, procedures, and other supporting documentation. See id. These

   documents were included with the letter as attachments. See PCL_DOJ_00001231-

   PCL_DOJ_00005585.

          The CAM Team has reviewed the Company’s EMS Letter, along with the associated

   policies, procedures, and supporting documents that are most directly tied to ECP compliance.

   Based on this review, the Company’s EMS appears to be both comprehensive and adequate to

   meet the requirements of the ECP. However, there are possible areas of improvement related to

   how the Company keeps the EMS current. As is to be expected with any HESS management

   system, the Company’s EMS must evolve so as to achieve continuous improvement. For this

   process to work, an effective communication feedback loop is required between ships and



   24
      Attachment 2 sets forth requirements for the Company’s EMS, including requirements relating
   to: environmental policy; environmental requirements and voluntary undertakings; objectives
   and targets; structure, responsibility, and resources; operational control; corrective and
   preventive action and emergency procedures; training, awareness, and competence;
   organizational decision-making and planning; document control; and continuous evaluation and
   improvement. See ECP, Attachment 2.


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   shoreside so that necessary updates to the EMS can be identified and incorporated. This will

   require (as to internal sources of information) the consistent and strategic use of information and

   tools such as incident reports, near miss reports, audit reports and findings, investigation reports

   and findings, root cause analyses, and corrective and preventive action plans—along with

   tracking and trending of all of the above. As discussed in the CAM’s prior reports, the Company

   faces barriers and opportunities for improvement in these areas. See, e.g., CAM First Annual

   Report at 26-27 (discussing inconsistent approaches to incident and near miss reporting), 33-40

   (discussing ineffective internal investigations); CAM September 2018 Quarterly Report at 23

   (discussing the Company’s proposed policy revisions and proposed plan to improve internal

   investigations). The CAM will continue to monitor the Company’s efforts in these areas,

   including future updates to EMS policies and procedures.

                  2.      Fleet Engineering Survey Corrective Actions

          The ECP requires the Company to “issue a survey to all shipboard engineering officers

   and all Environmental Officers on its vessels for information on how to improve MARPOL

   compliance, to include what new equipment, maintenance, parts, and procedures would be

   beneficial” that includes an “assessment requesting the frank opinions of the vessels’ engineers

   as to their ability to adequately maintain the vessels’ systems, equipment, and components.”

   ECP § IX.N.1. The ECP further requires the OLCMs to “evaluate the responses and, together

   with the CCM, establish a plan to evaluate, test, and implement viable ideas for improvement.”

   ECP § IX.N.2. The Company must provide a summary of the reported information and

   corrective actions to the Interested Parties, the TPA, and the CAM. ECP § IX.N.3.

          Pursuant to these requirements, the Company retained DuPont Sustainable Solutions

   (“DuPont”) to conduct a Fleet Engineering Survey. On March 22, 2018, the Company provided




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   the Interested Parties, the CAM, and the TPA with a presentation prepared by DuPont

   summarizing the survey results. See Letter from C. Donald, Environmental Compliance Plan –

   Fleet Engineering Survey Results (Mar. 22, 2018); PCL_ECP00042039 – PCL_ECP00042095.

   On November 1, 2018, the Company provided the Interested Parties, the CAM, and the TPA

   with a summary spreadsheet of the corrective actions developed in response to the Fleet

   Engineering Survey results. See Letter from C. Donald, Environmental Compliance Plan – Fleet

   Engineering Survey Actions (Nov. 1, 2018); PCL_ECP00083509 – PCL_ECP00083538.

          The CAM Team has reviewed the Company’s Fleet Engineering Survey corrective

   actions. The CAM recognizes the challenges of identifying and sharing best practices in the

   context of the Company’s complex corporate structure and lack of centralization and will seek to

   learn more about the various approaches by the different operating lines to address the issues

   identified in the survey.

          C.      Initiatives beyond ECP Requirements

          The Company continues to develop and implement a number of initiatives that go beyond

   the enumerated ECP requirements. See CAM First Annual Report at 4, 19-21; CAM September

   2018 Quarterly Report at 16-17. These initiatives include:

          •    Developing a plan to sustain and grow the Operation Oceans Alive program in 2019.
               The Company describes the program, which launched in January 2018, as “a call to
               action for all personnel” that “is designed to change attitudes and behaviors toward
               the environment.” October 2018 USPO Supervision Report, Attachment 3, at 3. As
               part of this program, the Company rolled out a second video with the Carnival Corp.
               CEO to shipboard and shoreside personnel that “encourages all personnel to join the
               Operation Oceans Alive mission to stand together to keep our oceans clean.” Id.

          •    Launching a case study initiative as part of the Operation Oceans Alive program. The
               Company describes the case study program as “a way of sharing lessons learned from
               incidents as part of [its] commitment to establish a strong learning culture.” Id. at 2.
               Each month, the CCM team has been aiming to produce a short (e.g., one-page)
               document that provides a summary of a notable environmental incident that occurred
               on a Company vessel, along with a bulleted list of lessons learned. See Employee



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             Interview Notes. For example, a recent case study involved an incident in which an
             Oily Water Separator was operated without its Chemical Injection System (which
             aids the separation of oil and solids from bilge water) and related chemicals in place,
             and the responsible engineer did not report the defect. Lessons learned included to
             “[p]ay close attention to oil filtering equipment during watchkeeping rounds and
             inspections to make sure that equipment is being operated and maintained correctly”
             and to “[r]eport equipment defects in accordance with Company procedures.” See
             Case Study #01-2018. To date, four case studies have been issued, with a fifth one in
             development. The CCM reports that his team is in the process of hiring a new
             manager whose key responsibilities would include managing the case study program
             and issuing at least two case studies a month. See Employee Interview Notes.

         •   Launching an online chat forum for Environmental Officers called the “The
             Environmental Hub” for environmental compliance and stewardship related
             discussions. The Hub is described as a platform for Environmental Officers to ask
             questions, give advice, share best practices, post photographs, and otherwise
             communicate. It is also an avenue for the CCM to engage with Environmental
             Officers. The forum went live on November 8, 2018. See October 2018 USPO
             Supervision Report, Attachment 3, at 2. Since then, the level of activity is reportedly
             high, and the CCM recently used the Hub to host a competition for new slogans for
             shipboard signs in support of environmental compliance (e.g., “Be fantastic—
             Remove the plastic” for the food pulper station). See Employee Interview Notes. In
             the future, the CCM plans to use the forum to solicit feedback from Environmental
             Officers on proposed new or updated policies and procedures before those policies or
             procedures become final. See id.

         •   Continuing to implement the “Stand in Compliance” program that includes installing
             warning signage and other markings on and around oil filtering and monitoring
             equipment to “make the equipment stand out to emphasize its importance and remind
             personnel follow procedures when operating it.” October 2018 USPO Supervision
             Report, Attachment 3, at 3-4. The Company reports that fleetwide installation is
             complete. Id. at 4.



             [See photographs on following page.]




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   “Stand in Compliance” Signage on the Carnival Vista: White Box (left) and Oily Water
   Separator (right).


          D.     Personnel

          As part of its ongoing examination of personnel issues, during the second quarter of ECP

   Year Two, the CAM Team attended an Environmental Officer conference and visited three

   manning agencies 25 that the Company uses to recruit and train ratings. 26 See CAM First Annual

   Report at 72-73; CAM September 2018 Quarterly Report at 17-18.




   25
      Manning agencies are “companies that act as an employment agency for seafarers. Seafarers
   use them to find employment at sea and shipping companies use them to source crew.”
   http://sea-jobs.net/encyclopediaen/163.
   26
     Ratings are members of a ship’s crew other than the Captain or an officer. International
   Convention on Standards of Training, Certification and Watchkeeping for Seafarers, 1978, as
   amended (“STCW Convention”), Annex, Ch. 1, Reg. I/1.13. Engine room ratings include
   wipers, motormen, plumbers, and fitters.


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                  1.      Environmental Officers

                        i.   Environmental Commitment Conference

          As discussed in the prior Quarterly Report, the CAM Team attended the Company’s first

   “Environmental Commitment Conference” in Almere, The Netherlands from September 11-13,

   2018, which “brought together Environmental Officers from across the fleet with shoreside

   environmental compliance, environmental operations, technical, and training personnel.” August

   2018 USPO Supervision Report, Attachment 3, at 4; CAM September 2018 Quarterly Report at

   17-18. The CAM commends the CCM and his team for their significant efforts and impressive

   accomplishment in organizing and running this valuable and informative event, and commends

   the Company for providing the resources to make it happen. 27 The Environmental Officer and

   shoreside attendees were energized and engaged, and actively shared concerns and ideas for

   improvement related to training, work load, job position and status, career path, shoreside

   support, shipboard support, corporate culture, “tone from the top,” and ways to improve existing

   policies and procedures. See CAM September 2018 Quarterly Report at 17-18. The CCM

   committed to following up on a number of these issues. See id.; Conference Notes.

          Some of the specific concerns identified at the conference were:

          •   Unsustainability and inconsistency of the Environmental Control System seal/lock
              program. See ECP § IX.B. Among other concerns, the Environmental Officers noted
              that ships take different approaches to implementing the current vulnerability
              assessment guidance (with some ships having fewer than ten seals, and some having
              over two thousand). As a result, Environmental Officers reported taking anywhere
              from two hours to two days to complete weekly seal checks.

          •   Lack of clarity associated with the ECP provision requiring Environmental Officers
              to “[c]onduct unannounced machinery space visits at least twice per week to observe
              the operation of the [Oily Water Separator] and [Oil Content Meter] (when in
              operation) for a period of one hour, including start and stop times.” ECP §

   27
     The Company reports that it plans to hosts additional “Environmental Commitment
   Conferences” in May and November 2019. See Employee Interview Notes.


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              IV.A.2.j.ii. 28 The Environmental Officers noted uncertainty as to how some of this
              language should be interpreted (e.g., is it required that the equipment be in continuous
              operation for the entire one-hour period? Is the Environmental Officer required to
              order engineers to start and/or stop the equipment during the visit if it does not
              happen to already be running?).

          •   High volume and pace of new/updated policies and procedures. The Environmental
              Officers expressed that shoreside offices tend to issue new/updated policies and
              procedures to the ships without clear directions and without first consulting to see if
              the ships’ crews have the resources, time, and experience to implement them. Some
              Environmental Officers proposed that shoreside offices vet proposed new/updated
              environmental policies or procedures with a working group of Environmental
              Officers to solicit their feedback ahead of time.

          •   Lack of clear communication between shoreside offices and ships. Among other
              concerns, Environmental Officers noted unresponsiveness from shoreside personnel
              in the operating lines to certain inquiries and requests, and, as discussed above, a
              failure of shoreside to consult with the ships prior to implementing new/updated
              policies and procedures.

          •   Challenges in delivering and tracking ECP-required training. Environmental Officers
              expressed concerns about the ECP-required training they are responsible for
              delivering, including concerns related to content (e.g., training not sufficiently
              tailored or relevant to all crew members), short time-frames for delivery, large class
              sizes, and the heavy administrative burden associated with tracking which employees
              have received training.

          •   Inadequate training for the Environmental Officer position. Some Environmental
              Officers felt that the current training for new hire Environmental Officers is
              inadequate. Specific concerns included that the training at the Company’s CSMART
              training center is too rushed; the current three-week period for onboard training is too
              short; and there is insufficient mentoring of new Environmental Officers onboard.

          •   Lack of job status. Some Environmental Officers felt that the Company has not
              sufficiently promoted or explained their role to others on the ships, and that this
              makes it more challenging—especially for those who are younger or new hires—to be
              effective leaders onboard. Some also said they feel isolated and like they are seen as
              a spy or policeman on the ships, rather than as part of a team.

          •   Lack of a career path for Environmental Officers.




   28
     The provision further requires that at least one of the two required weekly visits be conducted
   “outside of normal day work hours.” Id.


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   See Conference Notes.

          Since the “Environmental Commitment Conference,” the CCM has taken actions to

   follow-up on some of these items, including:

          •   Working to develop proposed revisions to the ECP provision requiring Environmental
              Officers to make unannounced visits to machinery spaces to observe the operation of
              the Oily Water Separator and Oil Content Meter. ECP § IV.A.2.j.ii. These revisions
              would be designed to clarify what Environmental Officers must do to fulfill this
              requirement and reduce the current uncertainty, stress, and time associated with this
              task. The revisions would also be designed to make compliance more easily audited
              by the TPA. See Conference Notes; Employee Interview Notes.

          •   Launching “The Environmental Hub” chat forum, discussed above in Part III.C.

          •   Ongoing efforts to improve and enhance training, discussed below in Part III.H.1.

                       ii.      Psychometric Evaluation Program

          The Company reports that it has begun implementing a psychometric evaluation program

   for new hire Environmental Officers. Traits being assessed include logical reasoning,

   mechanical aptitude, conscientiousness, emotional stability, situational awareness, and safety

   orientation. See October 2018 USPO Supervision Report, Attachment 3, at 4; Employee

   Interview Notes.

                  2.         Ratings

          As discussed in the CAM First Annual Report, during ECP Year Two the CAM Team is

   examining the recruitment and training of ratings. See CAM First Annual Report at 73.

   Recruitment and training of ratings for the Company is often conducted by third-party manning

   agencies. The Company uses agencies in the Philippines, Indonesia, and India.

          From November 11-14, 2018, the CAM Team, accompanied by a Company

   representative from the CCM team, visited three manning agencies in Manila, Philippines:




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   Magsaysay Maritime Corporation, 29 Bahia Shipping Services, and United Philippine Lines.

   Together, these manning agencies provide a mixture of deck, engine, security, and hotel crew for

   the Company’s AIDA, Costa, Carnival Cruise Line, Holland America Line, and Princess Cruises

   brands. Each manning agency also provides crew for other maritime customers, such as shipping

   companies. The Company assisted the CAM Team in arranging these visits, and agreed to have

   a member of the CCM’s team accompany the CAM Team during the visits. 30

           The CAM Team visited each agency separately. During these visits, the CAM Team met

   with executive leadership from each agency, as well as manning agency personnel working

   directly on manning for the Company. The meetings focused on recruitment and training of

   ratings and other employees for the Company’s brands, as well as the training facilities and

   resources. 31

           While each agency was different, in general, the process begins with the Company

   providing the agencies with minimum hiring qualifications (such as whether the seafarer has

   completed certain training programs, has passed certain medical examinations, and has met

   certain visa requirements). The agencies then use these qualifications to identify potential



   29
     Magsaysay Maritime Corporation encompasses several different entities involved in manning
   for the Company. The CAM Team visit included the MOL Magsaysay Maritime Academy (a
   new facility that trains deck and engine officers, including a small number of officers for the
   Company); the Magsaysay Institute of Shipping (which provides technical training primarily for
   engine ratings and security officers); the Magsaysay Center for Hospitality and Culinary Arts
   (which provides training for hotel and culinary crew members); and the Magsaysay manning
   office.
   30
     The CAM expresses special thanks to Robert (Jerry) Montgomery of Carnival Corp. for his
   efforts in facilitating these visits and supporting communication with each of the manning
   agencies.
   31
      Not all of the manning agencies provide direct training services. Some agencies provide
   training verification services only—i.e., verifying that a candidate has received certain required
   trainings and certifications.


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   candidates. After candidates are screened and selected as crew for one of the Company’s brands,

   the manning agency either provides, or arranges for, the crew member’s general and/or

   Company-specific training that is necessary prior to joining the ship.

          The CAM Team and the CCM plan to continue their joint effort to learn more about the

   recruitment and training of ratings, including during vessel and shoreside facility visits—and

   visits to additional manning agencies. Areas of inquiry include:

          •    Global HESS/ECP Awareness Training. The Company’s brands take different
               approaches to requiring that manning agencies provide Company-specific training on
               the ECP or Global HESS. One brand does require the manning agency to provide a
               Global HESS orientation prior to joining the ship, but others do not.

          •    Communication and Coordination. As in other areas, the Company appears to take
               a decentralized approach to manning, with the levels of involvement with, and
               oversight of, the manning agencies varied by brand. That said, there is at least one
               instance of cross-brand coordination: the security officer training course at
               Magsaysay appears to meet the training and manning requirements of all brands. See
               Interview Notes.

          E.      Corporate Structure and CCM Authority

          In September 2018, the Company submitted responses to the Court’s Order of July 13,

   2018 requiring the Company to provide “a plan as to how Carnival and its brands will address

   the challenge of corporate structure set forth in the [CAM First Annual Report], including

   prioritizing and standardizing environmental compliance across the company and establishing a

   Corporate Compliance Manager with both responsibility and authority over environmental policy

   and the Environmental Compliance Plan.” Dkt. No. 75 at 2.

                  1.      Centralization

                        i.    Response to the Court’s Order of July 13, 2018

          As discussed in the prior Quarterly Report, on September 17, 2018, the Company

   submitted a letter to the Interested Parties, the TPA, and the CAM in response to the first part of




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   the Court’s Order of July 13, 2018—i.e., to provide “a plan as to how Carnival and its brands

   will address the challenge of corporate structure set forth in the [CAM First Annual Report],

   including prioritizing and standardizing environmental compliance across the company.” Id.; see

   Letter from Vice Admiral (Ret.) B. Burke, USN, Company Response to the Order issued on July

   12, 2018 (Sept. 17, 2018), PCL_DOJ_00005737 (“Company Response Letter”); CAM

   September 2018 Quarterly Report at 19.

          The CAM Team has reviewed the Company Response Letter. The letter provides an

   overview of (1) the Company’s existing corporate structure, including “some of the efforts

   already taken to foster uniformity and centralization of some operations that align with the

   [ECP],” Company Response Letter at 1; and (2) recent and upcoming Company initiatives to

   address concerns raised in the CAM First Annual Report. 32 See id. The letter provides the Court

   with greater detail about these efforts than what has usually been provided in the Company’s

   Probation Reports. While the letter does not provide a concrete set of detailed action items in

   response to the Court’s order, developing such an approach in a decentralized organization is a

   formidable task. Providing the Court more information and visibility into these efforts is part of

   the strategic planning and budgeting review that the CAM Team is exploring in its visits to

   Company shoreside offices. See infra, Part III.I.

                       ii.   Efforts to Standardize or Centralize Environmental Compliance

          As noted above, the Company has undertaken various efforts to standardize or centralize

   environmental compliance functions, including:

          •   Developing a Corporate-Wide Incident and Near Miss Reporting System. The
              Company continues its efforts to develop a corporate-wide incident and near miss
              reporting system called SeaEvent, with pilot testing to take place from October 2018

   32
     The CAM is not making assessments regarding the sufficiency of these various efforts in this
   Report, but may do so in a future report.


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              – May 2019, and a staggered roll-out to be complete by the end of 2019. October
              2018 USPO Supervision Report, Attachment 3, at 4. If successfully implemented,
              SeaEvent could improve the consistency of the Company’s incident reporting, which
              could enable better fleetwide information-sharing and tracking/trending of incident
              data.

          •   Obtaining a Single Corporate-Wide ISO-14001 Certification. As noted in the
              prior Quarterly Report, the Company obtained a single corporate-wide ISO
              14001:2015 certification on September 14, 2018. 33 CAM September 2018 Quarterly
              Report at 20. Traditionally, each of the Company’s brands individually held their
              own separate ISO-14001 certification. However, “with the implementation of ISO
              14001:2015, the decision to transition to a single corporate ISO 14001:2015
              certification was made.” October 2018 USPO Supervision Report, Attachment 3, at
              4. According to the Company, this transition was “a big step towards demonstrating
              the Company’s proactive commitment to improving [its] environmental performance
              and [its] commitment to protecting the environment. Furthermore, the transition is
              aligned with the strategic move towards a single EMS within Global HESS, further
              drives cross-brand standardization and best practices, and reduces administrative
              burdens.” Id.

          •   Implementing a Single Oily Water Separator and Oil Content Meter Service and
              Maintenance Contract. The Company continues to negotiate a single Oily Water
              Separator and Oil Content Meter service and maintenance contract for the entire
              corporate fleet. The objective of this project is “to harmonize all brand individual
              contracts into one corporate contract.” Id. at 5. The scope of the contract includes
              “preventative maintenance service, operation check of the flow switch, training of
              systems operators during visits, and culture of compliance dedicated shipboard
              training.” Id. If a single contract is obtained, it could help standardize and improve
              the efficiency of the maintenance, operation, and repair of the equipment, as well as
              the sharing of best practices across ships and brands.




   33
     Developed and published by the International Organization for Standardization (“ISO”), ISO-
   14001 is an international standard that “sets out the criteria for an environmental management
   system and can be certified to. It maps out a framework that a company or organization can
   follow to set up an effective environmental management system.” ISO, ISO 14000 family –
   Environmental Management, ISO.ORG, https://www.iso.org/iso-14001-
   environmentalmanagement.html. To receive an ISO-14001 certification, a company’s
   environmental management system must be audited by an authorized organization (such as a
   Classification Society). If obtained, an ISO-14001 certification indicates that a company’s
   environmental policies and procedures meet the criteria set out in the standard. However, a
   certification only confirms that the policies and procedures are in place and that the company is
   capable of implementing them; it does not confirm that a company is actually complying with
   these policies and procedures at all times.


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          •   Considering a Single Planned Maintenance System. The Company reports that it
              is “considering moving” to a single Planned Maintenance System to be used across
              the fleet, and that “[d]iscussions are ongoing.” Id. at 4. Currently, at least two
              different systems are used. See Employee Interview Notes. Moving to a single
              system could help drive cross-brand standardization and sharing of best practices for
              Planned Maintenance System-related activities, including the tracking and ordering of
              critical spare parts.

                  2.      CCM Authority

          The Company has acknowledged the need to address its agreed upon obligation to

   provide the CCM with both the responsibility and the authority “to ensure full implementation of

   [the] ECP.” ECP § III.A.2; see also CAM First Annual Report at 4, 27-30. To address the

   Court’s concern about this obligation, on September 5, 2018, the Company provided the CAM,

   the TPA, and the Interested Parties with a procedure that purports to set out the “authority, roles,

   responsibilities, and interrelationships” of the CCM. See CAM September 2018 Quarterly

   Report at 19; Email from D. Kelley, CCM Procedure (Sept. 5, 2018); HMP-1005, Corporate

   Compliance Manager Responsibilities and Authority (Sept. 4, 2018) (“CCM Procedure”).

          In part, the Court’s inquiry reflects a concern that the CCM position is an artifact of

   probation, and that the CCM is not positioned to serve in a continuing role with the authority to

   support sustainable compliance. In this regard, the focus of the CCM Procedure provided by the

   Company is often on the ECP, rather than on environmental compliance more broadly. 34 While

   the Company has made statements to the Court suggesting a longer term commitment to portions


   34
     For instance, many statements about the scope of the CCM’s authority are tethered to the ECP,
   including the following: “[t]he CCM and Chief Maritime Officer are empowered by the Board of
   Directors of [Carnival Corp.] with the overall direction and control of the implementation and
   administration of the 2016 [ECP];” “[t]he CCM has the authority to implement and administer
   the ECP;” “[t]he CCM . . . also ha[s] the authority to access all records, documents, facilities and
   vessels, including all spaces within vessels necessary to perform the CCM’s ECP oversight
   function.” CCM Procedure at § 2.1 (emphasis added).


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   of the ECP, see, e.g., Status Conf. Tr. at 45:2-45:19 (July 11, 2018), a fair reading of the CCM

   Procedure could lead to the conclusion that the CCM position is a temporary one that will not

   extend beyond the five-year period of the ECP.

          Rather than making clear the authority of the CCM, the procedure limits the CCM’s

   authority in a number of ways. For example:

          •   The CCM position is a “Vice President” rather than a “Senior Vice President” or
              “Executive Vice President” level position. The Chief Maritime Officer has several
              Senior Vice Presidents reporting to him, which suggests that the CCM (and the role
              of compliance) has a lower relative stature than some of the Chief Maritime Officer’s
              other direct reports (and their corresponding functions). See id. at § 2.3.

          •   The CCM position largely resides outside of the Company’s other compliance
              functions. For instance, the CCM functions separately from the Carnival Corp. Vice
              President of Ethics and Compliance, who reports to the General Counsel. This
              reflects the broader lack of a unified compliance department/function at the Carnival
              Corp. level. 35 See id. at § 3.5.3.

          •   The CCM’s oversight and implementation authority is diluted among multiple other
              parties, including the Chief Maritime Officer, see id. at § 2.1, the Carnival Corp. Vice
              President of Ethics and Compliance, see id. at § 3.5.3, and “all other Operating Line
              departments that have any responsibility concerning environmental compliance
              including, but not limited to, Maritime Policy and Analysis (MPA), [Maritime
              Quality Assurance (MQA)], CSMART, Risk Advisory and Assurance Services
              (RAAS), Corporate Ship Building, Marine Technology, and Operating Line Marine,
              Technical, Environmental, Supply, and Human Resources teams.” See id. at § 2.4.

          •   The OLCMs report to other personnel and corporate groups in addition to the CCM.
              See id.

          •   Many of the CCM’s specific responsibilities and authorities are vague. For example,
              the procedure states that the CCM “communicates and collaborates” with operating
              line departments “that have any responsibility concerning environmental
              compliance,” but does not clarify what authority, if any, the CCM has over them. See
              id. It also states that the CCM is the “controlling authority” for environmental




   35
     Certain operating lines or brands have a Chief Ethics Officer or a Chief Sustainability Officer.
   However, there is no equivalent position above the Vice President level at the Carnival Corp./All
   Brands Group level.


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                 training curricula, but does not explain what this means or how this is to be reconciled
                 with the work of CSMART and others. See id. at § 3.1. 36

            In sum, the CCM Procedure does not establish the CCM as a position with “both

   responsibility and authority over environmental policy and the [ECP].” Dkt. No. 75 at 2.

   Similarly, the CCM Procedure does not provide for a sustainable CCM role that is fully

   integrated into the Company’s compliance efforts and structure, with actual authority over

   critical components of compliance. The CAM will continue to engage with the Company on this

   issue.

            F.      Compliance Culture Assessment

            Consistent with discussions held by the CAM, the Government, and the Company, the

   CAM retained maritime culture expert PROPEL SAYFR AS 37 (“Propel”) to develop and

   implement a culture survey that assesses both the strengths and the opportunities for

   improvement in the Company’s environmental compliance culture. See Second Annual Work

   Plan at 10-11; CAM September 2018 Quarterly Report at 22-23. Since its retention in the spring

   of 2018, Propel has developed a compliance culture survey instrument that is designed to

   measure the Company’s environmental compliance culture. This culture assessment focuses on

   the corporate culture attributes that relate to the interrelated obligations of safety, health, and

   environmental compliance. Propel engaged with the Company to incorporate the Company’s

   specialized knowledge and perspectives.




   36
     Nor does it explain why the CCM “is a stakeholder in, but does not control the curriculum for”
   the EGCS or Energy Efficiency courses at CSMART. See id.
   37
     At the time of the retention, Propel’s culture survey team was part of “PROPEL AS.” Since
   that time, Propel has undergone a corporate re-structuring, and the culture survey team is now
   part of “Propel SAYFR AS.”


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          A draft of the survey instrument was introduced in September 2018. Piloting of this draft

   instrument was accomplished through focus groups with Company personnel, including with the

   OLCMs and the CCM’s working group, and through multiple ship visits and shoreside

   discussions across various brands. The purpose of this piloting was to seek to ensure that: (1)

   survey questions, terms, and phrases are readily understood by the Company’s employees; (2)

   the survey length is appropriate; (3) survey language translations are accurate; (4) the survey

   implementation plan is compatible with the Company’s information technology platforms; and

   (5) the purpose of the survey is widely understood. Feedback from this piloting was

   incorporated into the survey instrument, which was finalized in November 2018.

          The survey will be administered to shipboard employees and covered shoreside

   personnel—a total of over 80,000 people. 38 For respondents onboard ships, the survey can be

   accessed free of charge on Company and personal devices. Additionally, Propel retained experts

   to translate the survey from English to the following languages: Bahasa, German, Italian,

   Mandarin, Portuguese, Russian, Spanish, and Tagalog. These languages were chosen based on

   discussions with the Company’s working group and are intended to assist populations who may

   prefer to take the survey in their native language.

          The survey contains approximately sixty questions and takes an average of fifteen to

   twenty minutes to complete. The anonymous survey also provides respondents with the

   opportunity to provide a “free text” response.

          The survey launched onboard ships and on shore on December 5, 2018, and the survey

   period is scheduled to close on December 24, 2018. However, as of December 17, 2018, the


   38
     The Company sought and the CAM agreed to expand the survey beyond only those personnel
   central to compliance functions. The Company stated that it views this survey as a tool through
   which it can increase broad employee engagement on environmental issues.


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   response rate for the survey was only twenty-three percent. The goal response rate is eighty

   percent, and Propel reports that similar surveys normally return a response rate of more than

   seventy percent. Propel, the CAM, and the Company are considering options to achieve a

   response rate sufficient, at least, to yield statistically significant results (which Propel reports

   would require at least a fifty percent response rate).

           In advance of the survey launch, Propel urged that the Company disseminate to its ships

   and shoreside offices a set of video messages—one from the CEO and another from the CAM—

   to introduce the survey and encourage participation. The Company elected to have its video be

   from the CCM instead. Beginning in January 2019, Propel will conduct focus group sessions on

   ships and at shoreside locations to clarify and contextualize observed survey trends and

   responses. The target date for results from the survey is May 2019. Propel will conduct a

   second survey before the completion of the five-year probationary period.

           G.      Investigations

           As discussed in the prior Quarterly Report, on September 5, 2018, the Company provided

   the CAM with a “proposed plan to enhance the internal incident investigation program employed

   within the Company and its respective brands.” Letter from C. Donald, Company’s Proposed

   Change to Maritime Investigations & Modification of the ECP (Sept. 5, 2018), at 1; CAM

   September 2018 Quarterly Report at 24. The Company’s proposal includes a plan to create a

   new Global HESS Investigations Department that would be separate from RAAS and would take

   over from RAAS responsibility for all significant HESS incident investigations. See id. To

   allow for this re-structuring, the CAM understands (and supports) the Company’s intent to

   pursue modifications to ECP Sections III.B.1(b) and (c)—which currently provide for RAAS to

   investigate Covered Vessel casualties and oil pollution incidents and Hotline reports. See id. at




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   24-25. The CAM Team will continue to follow the Company’s efforts to implement its proposed

   plan. 39 In addition, the CAM Team continues to monitor the Company’s progress in

   implementing DNV-GL’s recommendations, in connection with the timeline the Company

   provided on September 21, 2018. See id. at 24 (citing Email from B. Herrmann, Investigations

   Timeline – U.S. v. Princess Cruise Lines, Ltd. 1:16-cr-20897 (S.D. Fla.) (Sept. 21, 2018)). 40

          H.      Training

          As part of its ongoing examination of training, the CAM Team continues to monitor the

   Company’s various training-related initiatives. See CAM First Annual Report at 21-23, 69-70;

   CAM September 2018 Quarterly Report at 25-27. During the time period covered by this

   Report, the CAM Team also observed portions of engineering and leadership courses at the

   Company’s CSMART training facility, visited three manning agencies (discussed above in Part

   III.D.2), and joined a meeting with the Company’s Operating Line Training Managers and other

   corporate compliance personnel. In addition, the TPA performed an audit of two CSMART

   training courses.

                  1.     Updates on Company Initiatives

          The Company continues to invest significant resources in environmental and ECP-related

   training. See CAM First Annual Report at 21-23, 69-70; CAM September 2018 Quarterly

   Report at 25-27. Recent updates include:

          •    CSMART Training Courses. As of October 2018, the Company has conducted
               thirty-one “Environmental Officer 1” training courses and ten “Environment Officer
               2” training courses at the CSMART training center in Almere, The Netherlands.

   39
     The CAM understands this proposed approach to be on hold as the Company conducts a
   search for someone to lead the new investigation group. See Employee Interview Notes.
   40
     The CAM understands that the TPA is also monitoring the Company’s efforts to improve its
   investigation program, and is planning a shoreside office audit in early- to mid-2019 to evaluate
   the Company’s progress in these efforts. The CAM Team may join the TPA on this audit.


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             These courses are taught by two full-time Environmental Officer course instructors
             and two operating line instructors. The Company has also created a new position,
             Director of Environmental Training, which has been filled by a Chief
             Engineer/former Fleet Chief Engineer from Princess Cruises. See October 2018
             USPO Supervision Report, Attachment 3, at 2. In addition, retired Canadian Rear-
             Admiral William Truelove recently assumed his responsibilities as Managing
             Director of CSMART. See Employee Interview Notes.

         •   Compliance to Commitment (“C2C”) Training Program. The Company
             continues to deliver its C2C environmental training program, which began in October
             2017, to all engineers and deck officers attending CSMART. The Company describes
             the program as “communicat[ing] [its] commitment to environmental compliance and
             stewardship, as well as detail[ing] the events that occurred onboard the Caribbean
             Princess.” October 2018 USPO Supervision Report, Attachment 3, at 2. The
             Company has retained an expert training team from the University of West Florida
             “to assist in the redesign and enhancement of the C2C course,” and development of
             the next course is underway. Id. The Company plans to launch the redesigned C2C
             course in early 2019 under the new title of “Operational Excellence” and continue it
             at CSMART through 2019. Id.

         •   Shipboard Training Review. The Company has retained training experts from the
             University of West Florida to “conduct a focused review of shipboard training,”
             including training materials and training procedures, and identify areas for improving
             this training going forward. Response to TPA First Annual Report at 7. The
             Company reports that this review is now set to begin in the summer of 2019. See
             Employee Interview Notes.

         •   Environmental Induction Training Materials. The Company has developed a new
             ECP training video and presentation slides for the onboard environmental induction
             training that Environmental Officers give to newly joined crew members. These
             materials are in the final editing stages. October 2018 USPO Supervision Report,
             Attachment 3, at 2.

         •   GLADIS System. The Company continues to roll out its “single electronic learning
             management system,” called GLADIS. GLADIS is designed “to facilitate completion
             and tracking of the basic environmental training for shoreside employees and pre-
             learning training for Environmental Officers. It will eventually be used for all HESS
             related trainings.” Id.




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          •     CrewTube. The CrewTube smart phone/tablet training application is now available
                for operating lines to implement. The tool “will allow a number of HESS awareness
                trainings to be conducted prior to joining the ship.” Id. at 2-3. 41

                   2.      CSMART

                         i.   CAM Team Visit to CSMART (September 11-13, 2018)

          As discussed in the prior Quarterly Report, while in Almere for the Environmental

   Officer Conference from September 11-13, 2018, the CAM Team had the opportunity to observe

   portions of training courses at CSMART, including (1) Continuous Development Engineering,

   which “comprises a review and consolidation of technical and non-technical skills/competence

   expected for the [engineer’s] rank;” and (2) Leadership, which aims “to set a common and

   consistent approach to operational leadership on board ships.” See PCL_ECP00055978; CAM

   September 2018 Quarterly Report at 26.

          The CAM Team observed two Engine Room Watchkeeper Simulations that were part of

   the week-long Continuous Development Engineering curriculum. During each simulation, an

   engineer attending the training course was situated in a sophisticated Engine Control Room

   simulator.

              The CAM Team also observed two segments of a week-long Leadership Course. The

   course is not mandatory, and the attendees are primarily shipboard officers. The portions of the

   course attended by the CAM Team were engaging and interactive. There were team-building

   exercises, as well as an extended accident case-study. The course focused on teamwork and

   creating a speak-up culture.




   41
     The CAM remains aware of employee concerns related to the fact that the proposed use of
   CrewTube appears designed to shift required employee training to times when they are not being
   paid. See CAM September 2018 Quarterly Report at 26, n.22.


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                       ii.   TPA Audit of CSMART Training Courses (August 20-24, 2018)

          The TPA performed an audit of the following two CSMART training courses from

   August 20-24, 2018: (1) the “Environmental Officer 2 (EO2)” training course; and (2) the

   “Compliance 2 Commitment (C2C)” workshop. See ABSG, Carnival Corporation

   Environmental Compliance Audit Report, CSMART: Environmental Officer Course II (EO2),

   Compliance 2 [C]ommitment Workshop (C2C) (Aug. 28, 2018) (“CSMART Year Two TPA

   Audit Report”). The EO2 training course is a four-and-a-half day course given to Environmental

   Officers who have completed an EO1 training course. Id. at 3. 42 The C2C workshop is a six-

   hour module that is added to all engineering courses given at CSMART “to increase

   environmental knowledge throughout the fleet” and “help the students to understand the different

   shipboard personnel responsibilities regarding the ECP.” CSMART Year Two TPA Audit

   Report at 16.

          The TPA’s audit of the EO2 course focused on “the course’s prerequisites, the course

   curriculum, testing, and the feedback loop for changing course material.” Id. at 4. The TPA also

   reviewed the Company’s corrective actions developed in response to the findings from the TPA

   ECP Year One audit of the EO1 course. Id. at 7. Overall, the TPA made eleven Observations

   and did not issue any Major Non-Conformities or Non-Conformities. See id. at 5-6. Several of

   the TPA’s Observations took the form of positive observations or recommendations, including:

          •   All Observations from the TPA’s ECP Year One audit of the EO1 course had been
              adequately addressed with corrective actions. See id. at 7.

          •   The EO2 course “does a good job in expanding [Oily Water Separator] knowledge
              and understanding. The course reinforces EO1 course knowledge and gives students

   42
     The TPA conducted an audit of the EO1 training course during ECP Year One. See CAM
   First Annual Report at 69-70. The TPA found that the EO1 course generally met ECP
   obligations, but made several Observations and noted a number of factors that adversely
   impacted the effectiveness of the course. See id.


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              more time exploring the [Oily Water Separator] and increasing their knowledge.” Id.
              at 6.

          •   During the voyage planning lecture, having a video of an Environmental Officer
              presenting a voyage planning brief was “helpful with discussions in the classroom.”
              Id. The TPA recommended a similar exercise for the simulator exercise and other
              modules. Id.

          •   Currently, course managers are collecting best practices and photos of actual
              shipboard pollution prevention equipment to be used in classroom instruction “on a
              limited basis.” Id. at 5. The TPA recommended that the collection of these materials
              be more widespread, noting that “[w]hen used in modules, class discussions and
              participation increased.” Id.

          The TPA’s Observations also noted areas for improvement, including:

          •   A need to revisit and revise the goals and objectives for the course’s first day
              communication block. “The current goals listed are very broad and are not specific to
              the modules taught for the duration of the day.” Id. at 5.

          •   Certain pedagogical approaches. For example, the TPA was somewhat critical of the
              simulator exercise, expressing concern that it used too many scenarios in a short time;
              that successful completion of scenarios was unlikely; and that the instructors did not
              respond to requests for assistance to a sufficient degree. Id. The TPA also criticized
              some course materials for making negative comments about shipboard performance
              practices by the Environmental Officers. Id. Without more context, it is not possible
              to validate or accept these critiques, but they are provided here in the interest of
              transparency.

          •   A tendency of certain factors—first noted in the TPA’s report for its ECP Year One
              audit of the EO1 course—to adversely impact the effectiveness of the course,
              including variation in the level of student maritime and engineering experience,
              variation in the applicable shipboard procedures between the operating lines, and
              variation between pollution prevention equipment used in the course and that in
              operation on certain vessels. Id. at 8; see also CAM First Annual Report at 70.

          With respect to the C2C workshop, the TPA did not issue any formal findings. However,

   the TPA did note several positive items, including:

          •   The instructors were “knowledgeable regarding international environmental treaties
              and some individual country requirements. All instructors understood the ECP
              requirements.” CSMART Year Two TPA Audit Report at 16.

          •   The material—the majority of which was directly linked to the ECP—was “well
              presented and complete.” Id.


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          •    The instructor “did an outstanding job at managing the large group in discussions”
               and “always had control of the classroom.” Id.

          The TPA also noted some recommendations for improvement, including:

          •    A recommendation that modules have “information added to define each
               department’s/person’s responsibility and the [Environmental Officer’s] responsibility
               regarding the ECP subject.” Id.

          •    A recommendation that an Environmental Officer course instructor “be in the
               classroom for at least a portion of the course to answer questions pertaining to
               [Environmental Officers] and collect feedback on how [Environmental Officers] are
               viewed by other personnel.” Id.

                  3.      Operating Line Training Managers

          From October 8-10, 2018, the CAM Team attended a meeting in Miami, Florida with

   Company representatives, including the CCM, OLCMs, and Operating Line Training

   Managers. 43 Among other items, the parties discussed the role of the Operating Line Training

   Managers. Currently, their primary function under the ECP is to track that required training is

   being provided. However, these individuals may have additional duties that vary from operating

   line to operating line. The Company has recognized the need for a more defined, consistent, and

   robust structure for the Operating Line Training Manager role. See Employee Interview Notes.

          I.      Strategic Planning and Resources for Operations and Compliance

          Pursuant to the Court’s Order of July 13, 2018, the CAM Team has met with various

   representatives from Carnival Corp. and its operating lines to seek answers to the Court’s inquiry

   as to “how the Company’s long-term strategic plans are formulated and, specifically . . . how



   43
     The ECP requires the OLCMs to “name Training Officers within their respective Operating
   Lines to ensure that the training program is uniformly implemented throughout [the Company].”
   ECP, Attachment 3. Each of the Company’s four operating lines—Holland America Group,
   Carnival Cruise Line, Carnival UK, and Carnival Maritime Group—has designated an Operating
   Line Training Manager, though how they were selected is unclear.


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   environmental compliance has been made part of those plans and how protection of the

   environment is being incorporated as a priority into the Company’s strategic plans and culture in

   a long-term, sustainable manner.” Dkt. No. 75 at 3. As noted in the prior Quarterly Report, the

   CAM team is being supported in this effort by AlixPartners, a forensic accounting and

   investigations firm with particular expertise in corporate compliance and compliance

   governance. See CAM September 2018 Quarterly Report at 28-29. A representative of the TPA

   is also participating in addressing the Court’s inquiry.

          In August 2018, Carnival Corp.’s Chief Maritime Officer provided a high-level overview

   of the Company’s general planning process via conference call. See id. at 27-28. The CAM

   Team and TPA representative then met with Carnival Corp.’s Chief Financial Officer and with

   its Controller on September 24, 2018. These individuals provided an overview of how the

   corporate finance and accounting function is involved with the following planning processes:

   New Build Planning, Strategic Planning, Capital Planning, and Operating Planning. For each

   planning process, each operating line submits a plan annually to Carnival Corp. for review and

   approval by the Board of Directors.

          From October 29-November 1, 2018, the CAM Team and a TPA representative visited

   the Carnival UK shoreside office in Southampton, UK. They interviewed the President, the

   OLCM, senior maritime and finance management personnel, and over twenty other maritime,

   finance, and accounting personnel. Discussions included how Carnival UK develops and revises

   its New Build Plan, Strategic Plan, Capital Plan, and Operating Plan from year to year. The

   Carnival UK participants described whether and to what extent they considered compliance

   generally, and environmental compliance specifically, in each process. Carnival Corp.’s New




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   Build Department, which is located in Southampton and manages the Company’s portfolio of

   new ships, discussed the design of ships to facilitate compliant operations.

          From November 12-15, 2018, the CAM Team and TPA representative performed a

   similar visit to the Carnival Cruise Line shoreside office in Miami, Florida.

          The CAM Team is scheduling similar visits to the shoreside offices of Carnival Maritime

   Group and Holland America Group for January and February 2019. The CAM Team expects to

   respond to the Court’s inquiry regarding the strategic planning processes and environmental

   compliance issues as part of its Second Annual Report.

          J.      Company Vessel Visit Programs

          On September 5, 2018, as requested by DOJ and required by the Court’s Order of July

   13, 2018, the Company completed production of materials related to undisclosed vessel visit

   programs conducted by the Company during ECP Year One. See Dkt. No. 75; see also Letter

   from D. Kelley, Environmental Ship Assist Visit Program – Seventh & Eighth Production of

   Documents (Sept. 5, 2018). The Company produced over 17,000 records, which the CAM Team

   has recently completed reviewing. The Company also withheld 1,278 records under a claim of

   privilege and redacted 289 records.

          The CAM is coordinating a meeting with the Company and the Interested Parties so that

   the Company, as it requested, can make a presentation on the various undisclosed vessel visit

   programs and answer questions.

                                                        Respectfully Submitted,



                                                        STEVEN P. SOLOW
                                                        Court Appointed Monitor

                                                        December 18, 2018


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